Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 1 of 18




                                    EXHIBIT 2
Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 2 of 18




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  Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 3 of 18

September 9, 2020

ATTN: CFIUS
Cc: Mr. Yiming Zhang, CEO ByteDance Ltd

Under Sec. 2.(d)(i), In regards to the U.S. Presidential E.O. Issued on: August 14, 2020
Under section 721 of the Defense Production Act of 1950, as amended (section 721), 50 U.S.C. 4565
Order Regarding the Acquisition of Musical.ly by ByteDance Ltd

Sec. 2. Actions Ordered
(d) ByteDance shall not complete a sale or transfer under section 2(b) to any third party:
(i) until ByteDance notifies CFIUS in writing of the intended recipient or buyer; and
(ii) unless 10 business days have passed from the notification in section 2(d)(i) and CFIUS has not issued an objection to
ByteDance. Among the factors CFIUS may consider in reviewing the proposed sale or transfer are whether the buyer or
transferee: is a U.S. citizen or is owned by U.S. citizens; has or has had a direct or indirect contractual, financial, familial,
employment, or other close and continuous relationship with ByteDance, or its officers, employees, or shareholders; and
can demonstrate a willingness and ability to support compliance with this order.

Under Sec. 2.(d)(i), intended recipient or buyer:

TikTok Global Network Inc
244 Fifth Avenue,
Suite #g290
New York, NY 10001
bgreenspan@tiktokglobalnetwork.com

Brad Greenspan
244 Fifth Avenue,
Suite #g290
New York, NY 10001

Per Sec. 2(e) ByteDance will provide specific details of the TikTok Global Network Inc transaction if still
applicable under “description of efforts to divest the interests and rights described in section 2(b) and a timeline
for projected competion of remaining actions” in next “Weekly basis” required under Sec . 2€ to “certify to
CFIUS”

(e) From the date of this order until ByteDance provides a certification of divestment to CFIUS pursuant to
section 2(b), ByteDance and TikTok Inc., a Delaware corporation, shall certify to CFIUS on a weekly basis that
they are in compliance with this order and include a description of efforts to divest the interests and rights
described in section 2(b) and a timeline for projected completion of remaining actions.
  include a description of efforts to divest the interests and rights described in section 2(b) and a timeline for
projected completion of remaining actions.

Sec. 2(d)(ii) factors CFIUS may consider in reviewing the proposed sale or transfer are (See Exhibit A)

Regards,

Brad Greenspan
President/CEO
TikTok Global Network Inc
244 Fifth Avenue, Suite #g290
New York, NY 10001
  Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 4 of 18

Exhibit A- factors CFIUS may consider in reviewing the proposed sale or transfer are

whether the buyer or transferee: is a U.S. citizen or is owned by U.S. citizens; ? Yes, the principal
executive officer and majority stockholder is a U.S. citizen and the Arkansas incorporated company is majority
owned by U.S. citizens, and all substantial owners currently are U.S. person’s, the sole substantial owner is the
principal executive officer.

has or has had a direct or indirect contractual, (relationship) with with ByteDance, or its officers,
employees, or shareholders;? No, neither the Principal executive officer or the U.S. entity has or has had a
direct or indirect contractual relationship with Bytedance or its officers or any of its employees or any of its
shareholders.

has or has had a direct or indirect financial, (relationship with ByteDance, or its officers, employees, or
shareholders;)? No, neither the Principal executive officer or the U.S. entity has or has had a direct or indirect
financial relationship with Bytedance or its officers or any of its employees or any of its shareholders.

has or has had a direct or indirect familial, (relationship) with ByteDance, or its officers, employees, or
shareholders;?

No, neither the Principal executive officer or the U.S. entity has or has had a direct or indirect familial
relationship with Bytedance or its officers or any of its employees or any of its shareholders.

has or has had a direct or indirect employment (relationship) with ByteDance, or its officers,
employees, or shareholders;?

No, neither the Principal executive officer or the U.S. entity has or has had a direct or indirect employment
relationship with Bytedance or its officers or any of its employees or any of its shareholders.

has or has had other close and continuous , (relationship) with ByteDance, or its officers, employees, or
shareholders;? No, neither the Principal executive officer or the U.S. entity has or has had a close and
continuous relationship with Bytedance or its officers or any of its employees or any of its shareholders.

can demonstrate a willingness to support compliance with this order.? Yes, including the fact that neither
the Principal executive officer or the U.S. entity own, control, or operate any property in China currently

can demonstrate ability to support compliance with this order.?

Yes, because the principal executive officer has over 20 years experience working in the technology and Internet
sector and further was the CEO of a publicly traded company that certified SEC financial statements under
Sarbanes Oxley and had responsibility for maintaining sufficient internal controls on a regular recurring basis
which parallels the compliance requirement standard and certification requirements CFIUS mandates as
necessary to comply with its order. See relevant general background attached (Exhibit B) including specific
experience of working partnership with Singapore Government’s National Research Foundation (NRF), useful
when working with CFIUS to expedite its mandated verification and future compliance (See Exhibit C), former
Chairman/majority stockholder of U.S. company selected by Major League Baseball (MLB) as exclusive JV
partner and licensee entrusted with its data+proprietary IP to create and operate MLB.cn between 2008-2011 in
China. (See Exhibit D) dealing with data breach matters and consumer protections (See Exhibit E) (led joint
effort working with FBI’s CT branch beginning in January 2000, the response which is used in training manuals
taught as best practices to handle data breach response)
 Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 5 of 18



Exhibit B
Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 6 of 18

                                      Brad Greenspan
244 5th Avenue, Suite #G290 • New York, NY 10001 • (646) 664-1229 • myspacefounder@protonmail.com




              NEW BUSINESS DEVELOPER, COACH & TEAM BUILDER
Myspace.com Founder with 20+ years’ success creating scalable startups with high-growth potential

    Proven entrepreneurial leader with significant experience possessing ability to leverage network and
resources to create lean new health and wellness space businesses from scratch seeded with innovative
growth strategies, that can be rapidly deployed, tested, revised and optimized by “team first” best of class
talent possessing the deep self awareness to value agility as a short term strategic asset affording more
future optional or necessary pivots to correct or perfect a business model, multiply opportunities, or
accelerate advantageous events including special situation acquisitions or seizing strategic partnerships.
    Skilled communicator experienced in successfully pitching to both public institutional and private
investors and strong track record engaging with large company stakeholder senior executives exploring
and completing successful strategic partnerships, joint ventures, and licensing deals.
    Strategic thinker who is constantly learning and adept at researching consumer and marketplace
trends, emerging businesses models, and emerging technologies to determine the attractiveness of
potential new ideas. Well versed in introducing new products, branding, and creating plans that
implement sales, marketing, and business initiatives to support corporate objectives while delegating the
day to day blocking and tackling to experienced managers, but also comfortable assuming “lead” role as
needed to capture or build strong relationships with sales managers, customers, and industry leaders.

A former “the buck stops here” principal public executive officer adept at assessing and taking calculated
   risks based on ever changing market conditions. Significant experience managing publicly traded and
    private company P&L, creating “proactive” PR strategy communicating a long term vision for building
 stockholder value as part of an unanimous executive team “buy in” business plan approving a multi year
financial forecast. Also fluent in both overseeing and restructuring SEC Sarbanes-Oxley (SOX) compliant
   finance departments requiring multiple quarterly financial disclosure filings including DEF-14A annual
shareholder proxy statements, while messaging out a clear cohesive story narrative satisfying employee,
  stakeholder, investor, and market needs. Expert designing robust “reactive” strategies to support active
  M&A plans, & mitigate unexpected event downside thru rapid complex crisis management plan rollout.


                                      Core Competencies
    P&L Planning                         Entrepreneurial                        Talent Recruiting
    ECommerce                            Internet Direct Marketing              Creativity
    Team Building                        Leadership                            Social Media/Online Video
    Private+Public Financing             Corporate Governance                  SEC SOX Compliance
    Viral Growth Strategies              Health/Wellness Innovation

                                      Key Accomplishments
•    Only creator three separate category #1 websites (ranked by U.S. monthly unique audience)
•    Two decades of closing deals with industry leaders such as Microsoft, Yahoo, Sony, Google, Major
     League Baseball (MLB), Anheuiser Bush, QVC, AOL, Universal Music
Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 7 of 18

                                        Brad Greenspan (page two)


•   Management environment facilitated many former employees becoming first time founders and co-
    founders innovative firms such as Zynga, GoPro, Art19, and TechStyle Fashion Group.
•   Created business plan and founder of public company that became the 8th largest U.S.
    website property and cash flow positive by the end of 2001.
•   Credited in 2001 by Gartner Report as having created a unique proprietary “Secret
    Successful” methodology and process for “Internet Ad Sales” now commonly referred to as
    “performance based”, the type used in 90%+ of all online advertising purchased annually.
•   Post 2001 .com bubble burst, as Chairman/CEO of Myspace.com parent company
    eUniverse, oversaw restructuring including exit of online music CD ecommerce business,
    creation of 10 new online content/community business units, built a new west coast
    fulfillment and customer service operation supporting 6 new niche ecommerce businesses,
    including 3 innovative health/wellness subscription offerings, resulting in $1.8m fiscal year
    2000 revenue increasing to $16m in fiscal year 2001. Then became cash flow positive while
    increasing revenue to $33m in fiscal year 2002, and $66m in fiscal year 2003.
•   Founder/Chairman/CEO of eUniverse,Inc 100% owned Myspace.com launched August 2003
•   Created and operated Major League Baseball (MLB)’s first official website in China. 1
•   First American to be granted online video streaming license by PRC.
•   Launched first live streamed from automobile post game interview show for a U.S. Pro
    athlete (2008 “Ride Home With Steve Nash”)
•   Acquired health/wellness service FitnessHeaven.com in 2001, and grew membership 900%
•   Chairman of innovative health/wellness company that secured Anheuiser Busch’s first
    enhanced water licensing and distribution partnership
•   Created and oversaw incubator in partnership with Singapore Government’s National
    Research Foundation as part of multi-million dollar award.
•   In dorm room, during last year of college started a boot strapped 1 person investment bank focusing
    on Reg-D PIPE private placement financings, within 24 months of graduation as lead placement
    agent for six public companies, raised $60,000,000+ from ten institutional investors
•   Founder/Chairman/CEO of public company that outperformed S&P 500 by over 500% from inception
    thru News Corp/Fox $650m cash out acquisition (indexed total shareholder return 4/99 – 10/05)
•   Provided return of over 550% for initial private placement investors (Series A preferred PIPE)
    (compared to April 1999 – October 2005 S&P 500 total shareholder return was (-10.699%)
•   Co-Founded #1 global citizen journalism online video platform, EU based Liveleak.com
•   Partnered with 1999 U.S. Green Chemistry award winning Michigan State University husband/wife
    chemistry professors, co-founding advanced bio material company that was a cleantech pioneer
•   Invited to participate in (UCLA) Chancellor 2007 special meeting on innovation, after which
    recommendations made on creating original live streaming shows became implemented.
•   Partnership with FBI in 2000 became textbook model for countering international cyber crime.



1
 Selected by Major League Baseball (MLB) in 2008 to operate international Joint Venture in China.
Receiving exclusive license from MLB’s Advanced Media to build and operate the first official MLB
website for People’s Republic of China (PRC), MLB.cn.
Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 8 of 18

                                       Brad Greenspan (page three)




                              PROFESSIONAL EXPERIENCE
PALISADES CAPITAL II, INC. New York, New York
MANAGING DIRECTOR (January 2018 – Present)
Leverage expertise in finance to raise financing for innovative tech startups and to provide M&A support

LIVELEAK.COM UK
PARTNER (January 2015 – January 2018)
Helped identify and secure new online native based advertising partnerships that generated millions of
dollars in new revenue and supported growth of cash flow positive portfolio company that has become
one of leaders in mobile online video with over 15 million monthly visitors and 200 million video views.

SOCIAL SLINGSHOT PTE LTD . Singapore
MANAGING DIRECTOR (December 2010 – June 2014)
After being awarded a multi million dollar incubator fund by the Singapore Government’s National
Research Foundation (NRF), built out physical incubator in Singapore and investment team including full
time portfolio manager, led investment into 5 innovative digital media startups, provided advisory support.

LIVEUNIVERSE, INC. Los Angeles, California
PRESIDENT (January 2006 – December 2010)
Oversaw and managed three separate business development groups,
Notable accomplishments:
   • Within 24 months from launch, thru acquisitions, joint ventures, and partnerships, built a network of
     video entertainment websites receiving over 60 million unique visitors per month.
   • Launched pioneer video streaming platform LiveVideo.com which consummated exclusive
     partnerships creating customized channels and weekly live streamed shows from large Hollywood
     based production studio managing regular shows and creating content for over 20 celebrities,
     professional athletes, and music icons including; William Shatner, Joe Rogan, Steve Nash, Elton
     Brand, Joanna Krupa, Crystal Method, The Game.

• BROADWEBASIA, INC. Beijing, China & Los Angeles, California
• CHAIRMAN (January 2007 – November 2010)
Oversaw the acquisition of control stakes in five leading China online video and streaming entertainment
companies that reached over 70 million unique visitors per month.
Notable Accomplishments:
   • Closed Major League Baseball (MLB) Joint Venture receiving exclusive license from MLB’s
     Advanced Media to build and operate the first official MLB website for People’s Republic of China
     (PRC), MLB.cn. First American to be granted online video streaming license by PRC.

BORBA COSMETICS, INC. Burbank, California
CHAIRMAN (January 2007 – December 2009)
Oversaw and assisted CEO of innovative startup cosmetic company with negotiating and closing mission
critical partnerships, licensing deals, and joint ventures
Notable Accomplishments:
     • Closed Anheuiser Busch Joint Venture & multi year licensing deal, QVC strategic partnership, and
       multi million dollar investment from John Malone’s Liberty Media.

PALISADES TECHNOLOGY, INC. Los Angeles, California
Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 9 of 18

                                        Brad Greenspan (page two)


PRESIDENT (November 2004 – November 2006)
Led all business development efforts resulting in consummating strategic partnership with Yahoo to offer
a proprietary search engine toolbar on an affiliate and white label basis for popular websites and apps.
Notable Accomplishments:
    • Within 6 months, consummated partnerships were generating over $500,000 per month in gross
      revenue run rate allowing the company to become cash flow positive. By end of Year 1, over ten
      white label search engine partnerships and affiliate deals executed including with leading app
      Avant Browser, and top casual game company BigFishGames

MYSPACE.COM & EUNIVERSE, INC., Los Angeles, California
Founder, Chairman/CEO (April 1999 – November 2003)
Created and oversaw 15 cross-functional project teams in online content, community, ecommerce, and
advertising. Planned, launched, and established benchmarks for business development. Additional
scope of responsibility included project tracking, task scheduling, budgeting, change management, risk
management, stakeholder communications, and restructurings.
Notable Accomplishments:
   • Identified initial investors and key acquisition targets while leading innovative reverse merger to
     become publicly traded in 1999.
   • Identified, sourced, and led the consummation of a strategic partnership with Take Two
     Interactive, an interactive gaming company, which generated millions in services revenue and
     included the receipt of a multi million dollar investment on favorable terms.
   • Identified, sourced, and led the consummation of a strategic partnership with Sony Corporation,
     generating millions in advertising revenue, the acquisition of two Sony technology companies, and
     included the receipt of a multi million dollar investment on favorable terms.
   • Identified, sourced, and led the consummation of a strategic AdSense partnership with Google
     Corporation, which generated millions in web based advertising.
   • Identified, sourced, and led the consummation of a strategic partnership with Microsoft Corp. and
     its wholly owned MSN Zone portal, providing a proprietary white label pay to play cash skilled
     gaming platform technology which generated millions in online gaming revenue
   • Identified, sourced, and led the consummation of a strategic partnership with Yahoo Corporation,
     which generated millions in online search revenue

PALISADES CAPITAL I, INC. New York, New York
MANAGING DIRECTOR (August 1996 – April 1999)
Leverage expertise in finance to raise financing for innovative microcap technology & gaming companies
Notable accomplishments:
   • As sole employee, consummated 6 transactions, raising over $70,000,000 for 3 technology
     companies, 3 oil & gas corporations, and 1 magazine publisher expanding into retail.
   • Thru rigorous research and cold calling, initiated new relationships and sourced investments from
     10+ Institutional investors, incl Credit Suisse First Boston, Elliot Associates, Angelo Gordon


                              EDUCATION & CREDENTIALS
UNIVERSITY OF CALIFORNIA LOS ANGELES, Los Angeles, California; Bachelor of Political Science

Professional Certifications: Sarbanes-Oxley(SOX) Public Principle Executive Officer 10-K certifications
Information Technology Skills: Microsoft Office Suite
 Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 10 of 18



Exhibit C
  Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 11 of 18




A leg-up for start-ups
05:55 AM Dec 31, 2009
by Cheow Xin Yi
 SINGAPORE - Local technology start-ups have long prayed for more angelic assistance at
 the most critical stage of their incubation.
 Now, a national scheme to address this lack has drawn the keen participation of veteran
 incubators and angel investors from the likes of MySpace.com founder Brad Greenspan
 and Silicon Valley's Plug & Play.
 Under the $50-million Technology Incubation Scheme (TIS), seven incubators selected by
 the National Research Foundation (NRF) are tasked with nurturing early stage high-tech
 start-ups in areas ranging from biomedical science, clean technology to social media.
 The government will provide up to 85 per cent co-investment in each start-up identified
 by the Incubator Managers, up to a maximum of $500,000 per company. The latter will
 then have to invest in at least the remaining 15 per cent.
 As an incentive, the Incubator Manager will have an option to buy out NRF's share in the
 invested start-ups within 3 years of investment, by repaying the capital plus interest. This
 way, the government will share the downside risks of the investments, while giving the
 Incubators the potential upside in successful investments.
 Given that the process of starting a high-tech company is "fraught with challenges",
 founder and chief executive of Singapore-based start up Brandtology Eddie Chau said
 systematic guidance from experienced entrepreneurs makes a great difference in helping
 companies start on the right footing and maximises their chances of success.
 "Under the guidance of these Incubator Managers, these start-ups would greatly improve
 their chances of turning their ideas into viable businesses for the global market," said Mr
 Teo Ming Kian, chairman of the TIS evaluation panel.
 Noting the potential of Singapore's innovation capabilities, Neoteny Lab's Mr Joichi Ito -
 one of the seven selected incubators - said his company have seen many interesting ideas
 from entrepreneurs in Singapore that are "comparable to those in innovative hotspots
 elsewhere in the world".
 The incubators - only two are local companies - are selected from a pool of 32 proposals
 from both local and foreign entities.
 In fact, Mr Greenspan, the brainchild behind popular US networking website Myspace,
 founded Social Slingshot just for this initiative to "discover the next great technology or
 product". His Singapore incubator will invest and mentor start-ups in social media, next
 generation mobile and clean technology while providing incubatees access to strong web
 marketing channels.
 Associate Professor Annie Koh, Singapore Management University's dean of executive and
 professional education, called this an "exciting" initiative that can jumpstart innovation
 here.
 "It shows that the government is serious about innovation… and putting money where
 your mouth is."
 Still, going forward, she hopes these scheme can increase the role of local incubators and
Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 12 of 18



EXHIBIT D
        Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 13 of 18 8:19 AM
BroadWebAsia Inc. Enters Into Internet Partnership in China With MLB Advanced Media -- re> BEIJING, March 31 /PRNewswire-FirstCall/ --
                                                                                      7/4/14



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    BroadWebAsia Inc. Enters Into Internet Partnership in China With MLB Advanced Media
          Share


        BEIJING, March 31 /PRNewswire-FirstCall/ -- Buoyed by the success of
     the first Major League Baseball exhibition games in China, baseball fans in
     the country will now be able to follow the game's brightest stars as they                                                         Featured Video
     compete in the United States via an agreement announced today between MLB
     Advanced Media, LP (MLBAM) and BroadWebAsia Inc. (OTC Bulletin Board:
     BWBA). MLBAM is the interactive media and Internet company of Major League
     Baseball and operates the official league website at http://www.MLB.com as
     well as all 30 individual club sites. BroadWebAsia, established and chaired
     by Brad Greenspan, the founder of MySpace, owns and operates six of the
     leading web 2.0 properties in China.

         Under the terms of the agreement, BroadWebAsia, an official MLBAM
     Licensee in China, will create and host a Major League Baseball-focused
     website in simplified Chinese targeting the China market. The site,
     http://www.major.tv/china, is being developed by BroadWebAsia's
                                                                                                                                       $recommendationObj.title
     Shanghai-based Hupo TV subsidiary (http://www.hupo.tv), and officially
     launched in time for the MLB Opening Series in Japan on March 25th. This
     year's Opening Series featured the defending World Champion Boston Red Sox
     taking on the Oakland Athletics in Japan's Tokyo Dome on March 25th and
     26th.                                                                                                                             Journalists and Bloggers
         BroadWebAsia's MLB-focused China site will be in the simplified Chinese
     Language, offering Chinese fans video highlights, scores, feature articles,
     photos, up-to-date and historical statistics and a number of live baseball
     games streamed directly to China via the Major.tv/China website. Leveraging
     the popularity of Asian players such as Chien-Ming Wang, Ichiro Suzuki,
     Chin-Lung Hu, Hong-Chi Kuo, Chan Ho Park and Daisuke Matsuzaka, the site                                                          Visit PR Newswire for
     will promote baseball to the large Chinese audience. In addition to having                                                        Journalists for releases, photos,
     all of the content needed for baseball fans to follow the game,                                                                   ProfNet experts, and customized
     http://www.major.tv/china will have online chats and other fan forums, a
     special section teaching the China fan base the playing rules of baseball
                                                                                                                                       feeds just for Media.
     as well as promoting and selling Major League Baseball branded merchandise                                                        View and download archived
     online.
                                                                                                                                       video content distributed by
         "We are excited about our partnership with MLB Advanced Media," said                                                          MultiVu on The Digital Center.
     Brad Greenspan, Chairman of BroadWebAsia. "BroadWebAsia's cooperation with
     MLBAM brings together in China two of the leading providers of rich media
     entertainment, video streaming and next generation internet content. We
     hope to use the large user base of the BroadWebAsia network in China to
     widen the appeal of baseball in this exciting market and to create
     significant new revenue opportunities for BroadWebAsia and MLBAM.

         "This partnership with BroadWebAsia provides a very important Chinese
     language footprint for the game in China's digital space," said Alex
     Pigeon, Vice President of International, MLB Advanced Media. "The fans in
     China will now have the ability to follow their favorite teams and players
     -- from Opening Day to the World Series to the World Baseball Classic -- on
     a technologically innovative platform and most importantly in their own
     language."

         Peter Schloss, Chief Executive Officer of BroadWebAsia, said, "The
     overwhelming success of the two exhibition games recently played in Beijing
     demonstrates the appeal of baseball in China. The launch of our MLB-focused
     website in China will make the game more accessible, not only to
     multi-national and Chinese advertisers, but also to the increasing number
     of Chinese baseball fans at the grassroots level."

          About MLB Advanced Media LP



file:///Users/bspan/Documents/BroadWebAsia%20Inc.%20Enters%20Into%2…E%20BEIJING,%20March%2031%20:PRNewswire-FirstCall:%20--.webarchive                               Page 1 of 3
        Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 14 of 18 8:19 AM
BroadWebAsia Inc. Enters Into Internet Partnership in China With MLB Advanced Media -- re> BEIJING, March 31 /PRNewswire-FirstCall/ --
                                                                                      7/4/14


         Established in June 2000 following a unanimous vote by the 30 Major
     League Baseball club owners to centralize all of Baseball's Internet
     operations, MLB Advanced Media LP (MLBAM) is the interactive media and
     Internet company of Major League Baseball. MLBAM manages the official
     league site, http://www.mlb.com, and each of the 30 individual Club sites
     to create the most comprehensive Major League Baseball resource on the
     Internet. MLB.com offers fans the most complete baseball information on the
     Web, including up-to-date statistics, game summaries, extensive historical
     information, and exclusive features about Major League Baseball events and
     programs, including online ticket sales, baseball merchandise,
     authenticated memorabilia and collectibles, fantasy games, live and
     archived radio broadcasts of every game, live and archived video webcasts
     of entire games, pitch-by-pitch enactment of games, and hosted post-game
     video highlight shows. MLB.com offers more live events on the Internet than
     any other website in the world.

          About BroadWebAsia Inc.

         Established in 2005, BroadWebAsia, Inc. (OTC: BWBA) is a fast growing
     and diversified Internet company focused on Chinese online communities and
     digital advertising. The company was started and is backed by Internet
     entrepreneur and MySpace founder Brad Greenspan. The BroadWebAsia network
     is comprised of Hupo TV (http://www.hupo.tv), Mofile
     (http://www.mofile.com), TYCYGames (http://www.tycygames.com), 9e3.com
     (http://www.9e3.com), BBMAO (http://www.bbmao.com), and ETE
     (http://www.ete.cn). By acquiring controlling interests in 6 fast growing
     and well managed Chinese websites, BroadWebAsia has built a powerful,
     synergistic network encompassing video entertainment, social networking,
     and community search websites supported by a top online ad sales and
     serving company in China. BroadWebAsia's highly scalable network strategy
     allows for efficient cross marketing, cross advertising and cross audience
     promotion opportunities. The BroadWebAsia Network reaches over 70 million
     monthly unique visitors, generating over 500 million monthly page views.

          About Hupo TV

         Hupo TV (http://www.hupo.tv) is a subsidiary of BroadWebAsia and is
     based in Shanghai, China. It operates the online video sharing site,
     http://www.hupo.tv , which is a leading provider of proprietary video
     content to Chinese Internet Users. As of March 2008, Hupo TV had more than
     100 million monthly video views.

          Cautionary Note Regarding Forward-Looking Statements

         This press release includes "forward-looking statements" within the
     meaning of the United States Private Securities Litigation Reform Act of
     1995, and includes statements relating to the ability of BroadWebAsia, such
     as the ability improve efficiencies, improve customer service, drive cost
     savings and competitive advantage. These statements are based on current
     expectations and are subject to risks and uncertainties and changes in
     circumstances. There are important factors that could cause actual results
     to differ materially from those anticipated in the forward looking
     statements including, among others: the conditions of market, the continued
     ability to develop solutions, demand for and market acceptance of new and
     existing services, development of new functionalities which would allow
     companies to compete more effectively.



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Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 15 of 18




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     Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 16 of 18
                                                        MENU                          ●        US


                       MUST READ:     Sonos is sorry now, but IoT will betray you again


Biggest hacking fraud ever
Every e-commerce site's nightmare as hacker gets nasty with credit card
details




         By Will Knight | January 12, 2000 -- 10:19 GMT (02:19 PST) | Topic: Government : UK




A malevolent computer hacker claims to have pulled off the greatest information technology heist
in history after temporarily posting credit-card numbers stolen from a large US e-commerce firm.


American online CD-retailer CD Universe, admitted that "a portion of its customer data" had been
stolen and that an attempt had been made to blackmail the firm over the return of the
information.


eUniverse -- parent of CD Universe -- admitted it was contacted by a malicious hacker last week
who claimed to have stolen thousands of credit card numbers. The hacker demanded thousands
of dollars not to go public according to eUniverse. After calling the blackmailer's bluff, eUniverse
discovered hundreds of card numbers had been posted to an anonymous Web site.


According to some reports, these numbers were used to make fraudulent transactions over
$1000.


A press release from eUniverse states: "The company learned on Saturday January 7, 2000 that
customer data was posted on the Internet and immediately notified the FBI which caused the site
to be shut down the same day."


The hacker, Maxus, reportedly put his exploits down to the credit-card software protecting the CD
     Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 17 of 18
cdUniverse on its Web site. Therefore the credit card information cited in recent coverage could
not have come from ICVerfiy."


Richard Tyson-Davis of the Association of Credit Payment Services confirmed that British
consumers at least are protected from this sort of occurrence. He says, "The consumer credit act
of 1974 says that people have to pay £50, but in practise the banks don't ask for this." Tyson-Davis
says that the new breed of Internet banks who offer special protection from Internet fraud, "don't
have anything that anyone else doesn't have."


According to Tyson-Davis, when fraud has been committed without the presence of a card itself,
is retailers and not banks who will be put out of pocket by this type of fraud. He adds, "It's the
poor old retailer that stands to loose most in this sort of situation. 10% of all credit-card fraud in
1998 was carried out when the card was not present, and retailers picked up the bill for all of this."


Chairman of eUniverse Brad Greenspan has also issued a statement explaining why his company
decided not to pay the hacker's ransom demands: "Refusing to bow to this new breed of cyber-
criminals, we have taken a stand against a new form of online blackmail on behalf of all legitimate
e-commerce retailers. We take great pains to safeguard the privacy of our customers' information
and will take all necessary action to limit any loss or inconvenience to customers which may
occur as a result of this unusual occurrence."


The hunt is now on for the computer hacker behind this extraordinary heist.


Take me to Hackers (http://www.zdnet.co.uk/news/specials/1999/07/hackers/)


What do you think? Tell the Mailroom (mailto:mailroomuk@zdnet.com) . And read
(http://www.zdnet.co.uk/news/mailroom.html) what others have said.




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      Case 1:25-cv-23147-DPG Document 1-2 Entered on FLSD Docket 07/15/2025 Page 18 of 18
Universe Web site, ICVerify, created by US-based CyberCash.


Computer security expert David Litchfield of security firm Cerberus believes this may well be
more than a wild boast. "It is extremely likely," Litchfield told ZDNet. "The trouble with software
companies these days is that getting stuff out quickly is all important and so security suffers. He
posted credit card numbers and the company seems to have admitted that he got hold of them
some how. He could only have exploited a hole somewhere."




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TechRepublic's Power Checklist: Disaster Recovery Plan
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Development of a disaster recovery plan is a must. Although there may never come a time when the
Tools & Templates (https://www.techrepublic.com/resource-library/content-type/tools&templates/) provided by TechRepublic Premium
(https://www.techrepublic.com/resource-library/company/techrepublic-premium/)




In a statement, however, CyberCash denied that its software could have been compromised.
"ICVerify is a PC-based payment system, not a web-enabled product and is not being used by
